

People v Gregg (2022 NY Slip Op 05613)





People v Gregg


2022 NY Slip Op 05613


Decided on October 06, 2022


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: October 06, 2022

Before: Renwick, J.P., Oing, González, Mendez, Shulman, JJ. 


Ind No. 1342/18 Appeal No. 16361 Case No. 2019-12 

[*1]The People of The State of New York, Respondent, 
vJeffrey Gregg Also Known as Jeffery Gregg, Defendant-Appellant.


Caprice R. Jenerson, Office of the Appellate Defender, New York (Kameron Johnston of counsel), for appellant.
Alvin L. Bragg, Jr., District Attorney, New York (Molly Morgan of counsel), for respondent.



An appeal having been taken to this Court by the above-named appellant from a judgment of the Supreme Court, New York County (Abraham Clott, J.), rendered September 6, 2018,
Said appeal having been argued by counsel for the respective parties, due deliberation having been had thereon, and finding the sentence not excessive,
It is unanimously ordered that the judgment so appealed from be and the same is hereby affirmed.
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: October 6, 2022
Counsel for appellant is referred to
§ 606.5, Rules of the Appellate Division,
First Department.








